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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

Criminal Case No.   20-cr-00028-RM

UNITED STATES OF AMERICA,

      Plaintiff,

v.

1. CANDELARIA VALLEJO-GALLO,
2. KENIA VALLEJO-GALLO,
3. LUIS GERARDO PALACIOS,
4. EBER URIEL PEREZ-RAMIREZ,
5. ROSAURA VALLEJO-GALLO a/k/a “PELIGROS,”
6. CHRISTIAN PALACIOS a/k/a “MICHI,” a/k/a “MICHIGAN,”
7. GRECIA STEPHANIE TORRES-PABLO a/k/a “LA GORDA”,
8. ALEXIS AARON HERNANDEZ-REYES,
9. JAVIER ALEJANDRO VALLEJO-GALLO,
10. JOSE TOMAS DENES-TORRES,
11. JESUS RUIZ VELASCO-OCHOA a/k/a “GORDO,”
12. HUMBERTO GASTELUM-VERDUGO,
13. ENRIQUE RAUL MONTOYA-ARCE a/k/a “PAPO,”
14. JESUS ANTILLO-QUINTERO,
15. MARIA GUADALUPE SANCHEZ-GAYTAN a/k/a “LUPITA,”

      Defendants.


                                     INDICTMENT


The Grand Jury charges:

                                     COUNT 1

      From a time unknown, up to and including on or about January 17, 2020, in the

State and District of Colorado and elsewhere, the defendants, CANDELARIA VALLEJO-

GALLO; KENIA VALLEJO-GALLO; LUIS GERARDO PALACIOS; EBER URIEL

PEREZ-RAMIREZ; ROSAURA VALLEJO-GALLO a/k/a “PELIGROS”; CHRISTIAN

PALACIOS a/k/a “MICHI,” a/k/a “MICHIGAN”; GRECIA STEPHANIE TORRES-PABLO



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a/k/a “LA GORDA”; ALEXIS AARON HERNANDEZ-REYES; JAVIER ALEJANDRO

VALLEJO-GALLO; JOSE TOMAS DENES-TORRES; JESUS RUIZ VELASCO-OCHOA

a/k/a “GORDO”; HUMBERTO GASTELUM-VERDUGO; ENRIQUE RAUL MONTOYA-

ARCE a/k/a “PAPO”; JESUS ANTILLO-QUINTERO; and others both known and

unknown to the Grand Jury, did knowingly and intentionally combine, conspire,

confederate and agree, with interdependence, to distribute and possess with the intent

to distribute 50 grams and more of methamphetamine (actual) and 500 grams and more

of a mixture and substance containing a detectable amount of methamphetamine, a

Schedule II controlled substance, in violation of Title 21, United States Code, Sections

841(a)(1) and (b)(1)(A)(viii); 1 kilogram and more of a mixture and substance containing

a detectable amount of heroin, a Schedule I controlled substance, in violation of Title

21, United States Code, Section 841(a)(1), (b)(1)(A)(i); 500 grams and more of a

mixture and substance containing a detectable amount of cocaine, a Schedule II

controlled substance, in violation of Title 21, United States Code, Section 841(a)(1),

(b)(1)(B)(ii)(II); and 400 grams and more of a mixture and substance containing a

detectable amount of N-phenyl-N- [1-(2-phenylethyl)-4-piperidinyl] propanamide

(fentanyl), a Schedule II controlled substance, in violation of Title 21, United States

Code, Sections 841(a)(1) and (b)(1)(A)(vi).

       All in violation of Title 21, United States Code, Section 846.

                                         COUNT 2

       From on or about July 12, 2019 through October 19, 2019, in the District of

Colorado and elsewhere, the defendants, CANDELARIA VALLEJO-GALLO and MARIA

GUADALUPE SANCHEZ-GAYTAN a/k/a “LUPITA,” did knowingly combine, conspire,

and agree with each other and with other persons known and unknown to the Grand

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Jury to commit offenses against the United States in violation of Title 18, United States

Code, Section 1956, to wit:

       (a) to knowingly conduct and attempt to conduct financial transactions affecting

interstate commerce and foreign commerce, which transactions involved the proceeds

of specified unlawful activity, that is, the concealment, buying, selling, and dealing in

methamphetamine, cocaine, and fentanyl, Schedule II controlled substances, and

heroin, a Schedule I controlled substance, knowing that the transactions were designed

in whole or in part to conceal and disguise the nature, location, source, ownership, and

control of the proceeds of specified unlawful activity, and that while conducting and

attempting to conduct such financial transactions, knew that the property involved in the

financial transactions represented the proceeds of some form of unlawful activity, in

violation of Title 18, United States Code, Section 1956(a)(1)(B)(i); and

       (b) to transport, transmit, and transfer, and attempt to transport, transmit, and

transfer a monetary instrument or funds involving the proceeds of specified unlawful

activity, that is, the concealment, buying, selling, and dealing in methamphetamine,

cocaine, and fentanyl, Schedule II controlled substances, and heroin, a Schedule I

controlled substance, from a place in the United States to or through a place outside the

United States, knowing that the funds involved in the transportation, transmission, and

transfer represented the proceeds of some form of unlawful activity and knowing that

such transportation, transmission, and transfer was designed in whole or in part to

conceal and disguise the nature, location, source, ownership, and control of the

proceeds of specified unlawful activity, in violation of Title 18, United States Code,

Section 1956(a)(2)(B)(i);

       All in violation of Title 18, United States Code, Section 1956(h).

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MANNER AND MEANS

   •   It was part of the conspiracy for its members, acting interdependently, to arrange

       for the movement of funds derived from the distribution of methamphetamine,

       heroin, cocaine, and fentanyl from Colorado to California.

   •   It was further part of the conspiracy for its members, acting interdependently, to

       move said funds from California into Mexico covertly through couriers generally

       unrelated to the conspiracy to distribute methamphetamine, heroin, cocaine, and

       fentanyl.

   •   It was further part of the conspiracy for its members, acting interdependently, to

       effect the transfer of funds in Mexico to MARIA GUADALUPE SANCHEZ-

       GAYTAN a/k/a “LUPITA.”

   •   It was further part of the conspiracy for its members, acting interdependently, to

       moves those funds into Mexico by smuggling them as undeclared bulk cash

       shipments.

   •   It was further part of the conspiracy for SANCHEZ-GAYTAN to use said funds to

       purchase real property in Tepic, Nayarit, Mexico to attempt to place the property

       and its source of funds beyond the investigative reach of authorities in the United

       States.

                              FORFEITURE ALLEGATION

       1.     The allegations contained in Count 1 of this Indictment are hereby re-

alleged and incorporated by reference for the purpose of alleging forfeiture pursuant to

the provisions of Title 21, United States Code, Section 853 and Title 18, United States

Code, Section 982(a)(1).

       2.     Upon conviction of the violations alleged in Count 1 of this Indictment

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involving violations of Title 21, United States Code, Sections 841(a)(1) and 846, the

defendants, CANDELARIA VALLEJO-GALLO; KENIA VALLEJO-GALLO; LUIS

GERARDO PALACIOS; EBER URIEL PEREZ-RAMIREZ; ROSAURA VALLEJO-

GALLO a/k/a “PELIGROS”; CHRISTIAN PALACIOS a/k/a “MICHI,” a/k/a “MICHIGAN”;

GRECIA STEPHANIE TORRES-PABLO a/k/a “LA GORDA”; ALEXIS AARON

HERNANDEZ-REYES; JAVIER ALEJANDRO VALLEJO-GALLO; JOSE TOMAS

DENES-TORRES; JESUS RUIZ VELASCO-OCHOA a/k/a “GORDO”; HUMBERTO

GASTELUM-VERDUGO; ENRIQUE RAUL MONTOYA-ARCE; and JESUS ANTILLO-

QUINTERO; shall forfeit to the United States, pursuant to Title 21, United States Code,

Section 853, any and all of the defendants’ right, title and interest in all property

constituting and derived from any proceeds obtained directly and indirectly as a result of

such offense, and in all property used, or intended to be used, in any manner or part, to

commit, or to facilitate the commission of such offense.

       3.     Upon conviction of the violations alleged in Count 2 of this indictment

involving violations of Title 18, United States Code, Section 1956(h), the defendants,

CANDELARIA VALLEJO-GALLO and MARIA GUADALUPE SANCHEZ-GAYTAN a/k/a

“LUPITA,” shall forfeit to the United States, pursuant to Title 18, United States Code,

Section 982(a)(1), any and all property, real or personal, involved in such offense, or

any property traceable thereto.

       4.     If any of the property described in paragraph 2 above, as a result of any

act or omission of the defendant:

              a.   cannot be located upon the exercise of due diligence;
              b.   has been transferred or sold to, or deposited with, a third party;
              c.   has been placed beyond the jurisdiction of the Court;
              d.   has been substantially diminished in value; or
              e.   has been commingled with other property which cannot be subdivided

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                  without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p), to seek forfeiture of any other property of said defendant up to the value of the

forfeitable property.


                                                 A TRUE BILL:




                                                 Ink Signature on File in Clerk’s Office
                                                 FOREPERSON


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